                                                    U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                    The Jacob Javits Federal Building
                                                    26 Federal Plaza, 37th Floor
                                                    New York, New York 10278


                                                    July 3, 2025

BY ECF AND EMAIL
The Honorable Paul A. Engelmayer
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

       Re:     United States v. Daniel Hernandez 18 Cr. 834 (PAE)

Dear Judge Engelmayer:

        The parties write to provide the Court with an update regarding the above-captioned
defendant’s violation of supervised release (“VOSR”) specifications in advance of the upcoming
July 23, 2025 VOSR hearing. Assuming it is acceptable to the Court, the parties anticipate that at
the upcoming hearing, Hernandez will admit to VOSR Specifications 3 and 4, which are each
Grade C violations, charging him with unlawfully possessing MDMA and cocaine, respectively.
Following his admissions, the Government will move to dismiss Specifications 1 and 2, whereupon
the Government understands that the defendant—with the Government’s consent—will request an
adjournment for sentencing. Because the defendant’s anticipated admissions will obviate the need
for an evidentiary hearing, the Government respectfully requests that its witnesses—who would
otherwise need to travel from Florida to provide testimony—be excused from appearing at the
upcoming July 23 hearing.

                                                    Respectfully submitted,


                                                    JAY CLAYTON
                                                    United States Attorney for the
                                                    Southern District of New York


                                              By:
                                                    Jonathan E. Rebold
                                                    Assistant United States Attorney
                                                    (212) 637-2512

cc: Lance Lazzaro, Esq. (by ECF and email)
    Probation Officers Sandra Osman and Donn Grice (by email)
